
The Supreme Court affirmed the decision of the lower court on February 3rd, 1879, in the following opinion :
Per Curiam.
■ We are of the opinion, that the main question in this case, was a question of fact, fairly submitted to the jury. There was no evidence that the bonds in question were pledged in the bank for a loan for the benefit of the plaintiffs, in the name of C. W. Wright. The evidence was that the loan was made by the bank to B. F. Chatham. It was for the jury to say upon a consideration of all the evidence, whether Chatham was acting in the sales of the bonds as the cashier of the bank, and not in his individual capacity. If the plaintiffs in error have any cause of complaint, it is with the verdict of the jury, and not with the rulings, answers or charge of the court.
Judgment affirmed.
